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Client AECON                                                               AE Partners Holdings Inc                                                             281
10/13/23                                                                                                                                                    01:55PM

   Statement 3
   Form 1120, Schedule L, Line 14
   Other Assets

                                       AE Partners       Alliance Energy
                                       Holdings Inc.      Partners LLC


                                              281                852             Total        Eliminations    Adjustments    Consolidated

   Beginning:
   Investment - Isodrill                                    1,125,000.           1,125,000.                                     1,125,000.
   R&D                                                         50,000.             50,000.                                         50,000.
   Total                                            0.      1,175,000.           1,175,000.              0.             0.      1,175,000.




                                       AE Partners       Alliance Energy
                                       Holdings Inc.      Partners LLC


                                              281                852             Total        Eliminations    Adjustments    Consolidated

   Ending:
   Due from AEP Assets Holdings            939,722.         2,953,042.           3,892,764.      3,892,764.                             0.
   Due from AEP Holdings                                    1,086,000.           1,086,000.      1,086,000.                             0.
   Due from Shareholders                     1,000.                                  1,000.                                         1,000.
   Investment - Isodrill                 1,125,000.                              1,125,000.                                     1,125,000.
   NR - Alliance Farm and Ranch                             1,064,763.           1,064,763.                                     1,064,763.
   R&D                                      50,000.                                50,000.                                         50,000.
   US Patent                                50,000.                                50,000.                                         50,000.
   Total                                 2,165,722.         5,103,805.           7,269,527.      4,978,764.             0.      2,290,763.




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